JS 44 (Rev. 06/17)

provided by local rules of court.
purpose of initiating the civil doe!

Case 2:19-cv-023GF VIL DOVERISHEERT 05/28/19 P§d1 of 8 9 2 Gg

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as

n, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

 

lerk of Court for the

 

TS united SESS oFameyiek:

*

(b) County of Residence of First Listed Plaintiff

 

  

(EXCEPT IN U8. PLAINTIFF CASES)

c) Attorneys (Firm Name, Address, and seen Number)

KML Law Group, P.C. - Rebecca A.

olarz, Esquire

701 Market Street, Ste. 5000, Phila, PA 19106
215-627-1322, RSolarz@kmilawgroup.com

NOTE:

Attorneys (if Known)

 

OEE A ical Transport
3705 W. School House Lane

Philadelphia, PA 19129
County of Residence of First Listed Defendant

CIN US. PLAINTIFF C4

IN LAND CONDEMNATION CASESfUSE THE LOCATI
THE TRACT OF LAND ENVOLVED.

Philadelphi

  
     

 

 

.BASIS OF JURISDICTION (Pigece an “X" in One Box Only)

 

HI. CITIZENSHIP OF PRIN

(For Diversity Cases Only)

 
      
  
    
  
  

{PAL F ARTIES (Place an “X" in Oue Box for Plaintiff

and One Box for Defendant)

 

 

   

  

U.S. Government 3 Federal Question PIF { DEF PTF DEF
Plaintiff (G8. Government Not a Party} Citizen of This State ol % | kneqrporated or Principal Place o4 a4
Business In This State

2 U.S. Gavernment | 4 Diversity Citizen of Another State  2| O 2° Picorporated aed Principal Place o5 a5

Defendant (ndieate Citizenship of Parties in Item I) of Business in Another State
Citizen or Subject ofa oO 3 3 Foreign Nation o6 a6

Foreign Country
in One Box Only} Click here for: Nature of Suit Code Descriptions.
TORTS vie ee sicen - TORFEITURE/PENALTY2] 2 2 BANKRUPTCY: OTHER STATUTES 22°:

 

 

 

 

 

& [£0 Insurance
CF 120 Marine

PERSONAL INJURY
(7) 310 Airplane

PERSONAL INJURY
G 365 Personal Injury -

 

& 130 Miller Act 0 315 Airplane Product Product Liability G 690 Other 28 USC 157
CF 140 Negotiable Instrument Liabitity G 367 Health Caref
fF 150 Recovery of Overpayment | 1 320 Assault, Libel & Pharmaceutical “PROPERTY: RIGHTS 2.22:
‘, & Enforcement of Judgment Slander Personal Injury 820 Copyrights
15] Medicare Act 0 330 Federal Employers’ Product Liability O 830 Patent
O 15f Recovery of Defaulted Liability OG 368 Asbestos Personal 0 835 Patent - Abbreviated
Student Loans 0 340 Marine Injury Product New Drug Application
(Excludes Veterans} 01 345 Marine Product Liability 0 840 Trademark
0 143 Recovery of Overpayment Liability PERSONAL PROPERTY [ee22 2 LABOR 22 Des SOCIAL SECURITY:
of Veteran’s Benefits 0 350 Motor Vehicle 0 370 Other Fraud 70 Fair Labor Standards OF 861 HIA (2395ff)
OC 166 Stockholders’ Suits 1 355 Motor Vehicle 0 371 Truth in Lending Act O) 862 Black Lung (923)
OC 196 Other Contract Product Liability Q 380 Other Personal 0) 720 Labor/Management 0 863 DIWC/DIWW (494(2)
CO 195 Contract Product Liability | 360 Other Personal Property Damage Relations O) 864 SSID Title XVI
O 196 Franchise Injury 0 385 Property Damage O 740 Railway Labor Act (7 865 RST 465(ey)
(3 362 Personal Injury - Product Liability 0 751 Family and Medical
Medical Malpractice Leave Act
eREAL PROPERTY: = CVVIL RIGHTS © PRISONER PETIFIONS =| 790 Other Labor Litigation FEDERAL TAX SUITS

 

 

 

210 Land Condemnation

0 226 Foreclosure

CO 23 Rent Lease & Ejectment
0 240 Torts to Land

6 245 Tort Product Liability
0 290 All Other Real Property

O 440 Other Civil Rights

 

Habeas Corpus:
0 463 Alien Detainee
7 510 Motions to Vacate
Sentence
O 530 General
O 535 Death Penalty

441 Voting

6 442 Employment

0 443 Housing/
Accommodations

G 445 Amer. w/Disabilities -

Employment Other:
G 446 Amer, w/Disabilities -[ (0 540 Mandamus & Other
Other OF 550 Civil Rights

1 448 Education GF 555 Prison Condition
560 Civil Detainee -
Conditions of

Confinement

 

 

   

 

G 625 Drug Related Seizure
of Property 2f USC 885

 

01 422 Appeal 28 USC 158
0 423 Withdrawal

{1 375 False Claims Act

{3 376 Qui Tam G1 USC
3729(ay)

[) 400 State Reapportionment

 

{7 410 Antitrust

 

 

(J 430 Banks and Banking

1) 450 Commerce

(J 460 Deportation

0 470 Racketeer Influenced and
Corrupt Organizations

“V0 480 Consumer Credit

 

0 791 Employee Retirement
Income Security Act

 

     

“IMMIGRATION...

 

 

C1 462 Naturalization Appticatio
0) 465 Other Immigration
Actions

 

O 876 Taxes (U.S. Plaintiff
or Defendant}

G 871 ERS—Third Party
26 USC 7609

0 490 Cable/Sat TV

O 850 Securities/Commodities/
Exchange

0 890 Other Statutory Actions

) 891 Agricultural Acts

© 893 Environmental Matters

CO) 895 Freedom of Information
Act

0 896 Arbiiration

0 899 Administrative Procedure
ActUReview or Appeal of
Agency Decision

7 950 Constitutionality of
State Statutes

 

 

ORIGIN (Place an “X” itt One Box Onty)

Ly Original (92 Removed from O 3° Remanded from O 4 Reinstated or O 5 Transferred from © 6 Multidistrict C1 8 Multidistrict
Proceeding, State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify Transfer Direct File

 

VI, CAUSE OF ACTION

VIL REQUESTED IN
COMPLAINT:

28 U.S.C. 1345
Brief description of cause:
Enforced Collections
1 CHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R.Cy.P.

 

VHE. RELATED CASE(S)

(See instructions):

DEMAND $

Cite the U.S. Civil Statute under which you are filing (Doe sof cite jurisdictional statutes ntless diversity);

JURY DEMAND:

CHECK YES only if demanded in Mt:
O Yes { No

 

 

 

IF ANY JUDGE DOCKET NUMBER ___
DATE beh fom . SIGNATURE OF ATTORNEY OF RECORD Bf ‘ i
ides A oy : LS wh
i Dh fan :
FOR OFFICE USE ONLY
RECEIPT 4 AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 

 

 
      

man DESIGNATION FORM
(to be used by counsel ¢ GF pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calertdar)

Address of Plaintiff: clo Suite 5000 — BNY independence Center, 701 Market Street, Philadelphia, PA 19106-1532
3705 W. School House Lane Philadelphia, PA 19129

 

 

 

 

Address of Defendant:

Place of Accident, Incident or Transaction: , Action of Enforced Collections
RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

 

 

Civil cases ace deemed related when Yes is answered to any of the following questions:

 

 

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes
previously terminated action in this court?

 

 

 

 

2, Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes
pending or within one year previously terminated action in this court?

 

 

 

 

 

3. Does this case involve the validity or infringement ofa patent already in suit or any earlier Yes
numbered case pending or within one year previously terminated action of this court?

 

 

4. _ Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes
case filed by the same individual?

 

 

 

 

I certify that, to my knowledge, the within case [Z] is/ «[aho related to any case now pending or within one year previously terminated action in

won AN be PS

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CIVIL: (Place a ¥ in one category only)

 

 

 

 

Federal Question Cases: . B. Diversity Jurisdiction Cases:
Indemnity Contract, Marine Contract, and All Other Contracts 1. Insurance Contract and Other Contracts
i FELA 2. Airplane Personal Injury
3. Jones Act-Personal Injury 3. Assault, Defamation
Ci 4. Antitrust 4, Marine Personal Injury
5. Patent 5, Motor Vehicle Personal Injury
H 6, Labor-Management Relations 6. Other Personal Injury (Flease specify:
7. Civil Rights 7, Products Liability
(Cj 8. Habeas Corpus HI 8. Products Liability — Asbestos
9, Securities Act(s} Cases 9, All other Diversity Cases
H 10. Social Security Review Cases (Please specify):
[J] 11. All other Federal Question Cases
(Please specify):

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration)

L , counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

 

 

 

 

Relief other than monetary daniages is sought.

 

DATE:

 

 

Attorney-at-Law / Pro Se Plaintiff’ Attorney LD. # Gif applicable)

2019

NOTE: A trial de nevo will be a trial by jury only if there has been compliance with F.R,C.P, 38.

Civ, 609 (S/2018y j ™ - . vit 2

 

 
Case 2:19-cv-02328-JD_ Document1_ Filed 05/28/19 Page 3 of 8
UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

 
   

UNITED STATES OF!
ed Plaintiff CIVIL ACTION NO.

VS...

 

Cornerstone Medical Transport
Defendant

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for plaintiff
shall complete a case Management Track Designation Form in all civil cases at the time of filing the
complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse side of this
form.) In the event that the defendants do not agree with the plaintiff regarding said designation, that the
defendants shall, with their first appearance, submit to the clerk of court and serve on the plaintiff and all
other parties, a case management track designation form specifying the track to which those defendants
believe the case should be assigned.

 

 

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus -- Cases brought under 28 U.S.C.
§2241 through §2255. ()

(b) Social Security -- Cases requesting review of a
decision of the Secretary of Health and Human
Services denying plaintiff Social Security Benefits. ()

(c) Arbitration -- Cases required to be designated for
arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos -- Cases involving claims for personal injury
or property damage from exposure to asbestos. ( )

(e) Special Management -- Cases that do not fall into tracks
(a) through (d) that are commonly referred to as complex
and that need special or intense management by the court.
(See reverse side of this form for a detailed explanation of
special management cases.) ()

(f) Standard Management -~ Cases that do not fall into
any one of the other tracks. } (X)
/ ve
4/30/2019 a
Date ;

Rebecca A. Solarz, Esq,

Attorney for Plaintiff, United States of America

Pennsylvania Attorney I.D. No. 315936

Suite 5000 —- BNY Independence Center

7O1 Market Street

Philadelphia, PA 19106-1532

(215) 825-6327 (Direct) 4 AY 78 2019

rsolarz(@kmllawgroup.com
909,

 

 
Case 2:19-cv-02328-JD Document1 Filed 05/28/19 Page 4 of 8

 

\UNITED STATES DISTRICT COURT
FOR THE
EASTERN DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA a9 9 ga
Plaintiff
CIVIL NO.
vS.

Cornerstone Medical Transport

Defendant

 

COMPLAINT

The United States of America, on behalf of its Agency, The United States
Department of the Treasury Bureau of the Fiscal Service, by its specially appointed
counsel, Rebecca A. Solarz of KML LAW GROUP, P.C., represents as follows:

1. This Court has jurisdiction pursuant to 28 U.S.C. 1345.

2. The last-known address of the Defendant, Cornerstone Medical Transport
(“Defendant”) is 3705 W. School House Lane, Philadelphia, PA 19129.

3. That the defendant is indebted to the plaintiff in principal amount of
$44,621.74, plus interest of $14,926.24, for a total of $59,547.98. A true and correct
copy of the Certificate of Indebtedness is attached as Exhibit “A” (“Certificate of
Indebtedness”).

4, Demand has been made upon Defendant by Plaintiff for the sum due but

the amount due remains unpaid.

 

 
Case 2:19-cv-02328-JD Document1 Filed 05/28/19 Page 5of 8

WHEREFORE, the plaintiff demands judgment against Defendant as follows;
(A) In the amount $59,547.98.
(B) Plus filing fee allowed pursuant to 28 U.S.C., Section 1914 in the sum
of $150.00,
(C) Interest from the date of judgment at the legal rate of interest in effect

on the date of judgment until paid in full.

 

(D) Costs of suit.
Notice is hereby given to Defendant that Plaintiff intends to seek satisfaction of

any judgment rendered in it favor in this action from any debt accruing.

 

United States of America by and through
its specially appointed counsel

;
KML Law Group, P.C.
\ a
5 \
f

By:
Rebecca A. Solarz, Esquire
BNY Independence Center
701 Market Street

Suite 5000

Philadelphia, PA 19106-1532
(215)825-6327
RSolarz@kmilawgroup.com

 
Case 2:19-cv-02328-JD Document1 Filed 05/28/19 Page 6 of 8

UNITED STATES DISTRICT COURT
FOR THE

EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
Plaintiff CIVIL NO,

YS.

Cornerstone Medical Transport

 

Defendant

EXHIBITS

“A” CERTIFICATE OF INDEBTEDNESS

 

 
Case 2:19-cv-02328-JD Document1 Filed 05/28/19 Page 7 of 8

 

U.S. DEPARTMENT OF THE TREASURY
BUREAU OF THE FISCAL SERVICE
WASHINGTON, DC 20227

ACTING ON BEHALF OF
U.S, HEALTH & HUMAN SERVICES
CENTERS FOR MEDICARE and MEDICAID SERVICES
CERTIFICATE OF INDEBTEDNESS

Cornerstone Medical Transport
3705 W. School House Lane
Philadelphia, PA 19129

EIN: XX-XXXXXXX

Agency Debt ID Nos,: TRFM1600235026/767065596

| hereby certify, as part of my duties with the U.S. Department of the Treasury (Treasury), including
referring matters to the U.S. Department of Justice (DOJ) for litigation, | am a custodian of records of
certain files sent by the U.S. Department of Health and Human Services (HHS), Centers for Medicare and
Medicaid Services (CMS) to Treasury far collection actions. As a custodian of records for Treasury, | have
care and custody of records relating to the debt owed by Cornerstone Medical Transport, (DEBTOR) to
HHS.

The information contained in thts Certificate of Indebtedness is based on documents created by an
employee or contractor of HHS based on his/her knowledge at or near the time the events were recorded,
including the review of the detinquency of overpayments, or by an employee or contractor of Treasury
based on his/her knowledge at or near the time the events were recorded, including the review of the
detinquency of overpayments. Treasury’s regular business practice is to receive, store and rely on the
documents provided by HHS, when, debts are referred to Treasury for collection activities, including
litigation.

On November 19, 2015, HHS determined the DEBTOR delinquent for an overpayment in the amount of
$44,621.74 with an annual interest rate of 10.00%, for CMS services rendered. HHS sent the DEBTOR
letters advising of the overpayment and requesting payment to no avail.

HHS referred the claims to Treasury’s Bureau of the Fiscal Service, Debt Management Services (DMS) for
litigation and collection on July 8, 2016. Further, t certify that | am familiar with Treasury's record keeping
practices, including the receipt of files from HHS.

On March 21, 2019, DMS referred the claim to 00 for litigation and collection in the amount due of
$44,621.74 with dally interest of $12.22 as of April 10, 2019.

Principal: $ 44,621.74
Interest (@10.00%}: $ 14,926.24
Total: S 59,547.98

 
Case 2:19-cv-02328-JD Document1 Filed 05/28/19 Page 8 of 8

 

U.S, DEPARTMENT OF THE TREASURY
BUREAU OF THE FISCAL SERVICE
WASHINGTON, DC 20227

ACTING ON BEHALF OF
U.S. HEALTH & HUMAN SERVICES
CENTERS FOR MEDICARE and MEDICAID SERVICES
CERTIFICATE OF INDEBTEDNESS

The balance stated in the case listed above is current as of April 10, 2019, including any applicable interest,
penalties, administrative fees, and DMS & DOJ fees (pursuant to 31 U.S.C. 3717(e) and 3711{g}{6), (7); 31
C.F.R. 285.12(j} and 31 C.F.R. 901.1(f); and 28 U.S.C. 527, note).

Pursuant to 28 U.S.C. § 1746(2), | certify under penalty of perjury that the foregoing is true and correct to
the best of my knowledge and belief based upon information provided by the HHS and information

contained in Treasury’s records. ROTA

Regina Crisafulli

Financial Program Specialist

U.S. Department of the Treasury
Bureau of the Fiscal Service

h

 

 
